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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                             PANAMA CITY DIVISION


DOUGLAS W. ANDERSON,

       Petitioner,

vs.                                               Case No. 5:05cv90-RH/WCS

CHARLES CRIST,

     Respondent.
_________________________________/

           REPORT AND RECOMMENDATION TO TRANSFER § 2254 PETITION

       Pursuant to court order, doc. 3,1 Petitioner paid the filing fee for his 28 U.S.C. §

2254 petition. Doc. 4. The court deferred review of the petition until either the fee was

paid or an in forma pauperis application submitted. Doc. 3.

       On review of the § 2254 petition, Petitioner is incarcerated at Apalachee

Correctional Institution and challenges his conviction out of the Circuit Court in St.

Johns County, Florida. Jurisdiction is appropriate in this district and the Middle District,

as the districts of confinement and conviction, respectively. 28 U.S.C. § 2241(d). The

district of conviction is the most convenient and appropriate venue, and the petition

should be transferred to the Southern District under § 2241(d). See also, Parker v.


       1
        The order erroneously named Schelia Clark, Warden of the Federal
Correctional Institution in Tallahassee, as Respondent. Petitioner is in state custody.
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Singletary, 974 F.2d 1562, 1582 and nn. 114 and 118 (11th Cir. 1992) (finding transfer

"in furtherance of justice" under § 2241(d), citations omitted); Eagle v. Linahan, 279

F.3d 926, 933, n. 9 (11th Cir. 2001) (noting the practice of district courts in Georgia to

transfer petitions to the district of conviction under § 2241(d)).

        It is therefore respectfully RECOMMENDED that this case be TRANSFERRED to

the United States District Court for the Middle District of Florida for all further

proceedings.

        IN CHAMBERS at Tallahassee, Florida, on May 16, 2005.




                                            s/    William C. Sherrill, Jr.
                                            WILLIAM C. SHERRILL, JR.
                                            UNITED STATES MAGISTRATE JUDGE


                                  NOTICE TO THE PARTIES

       A party may file specific, written objections to the proposed findings and
recommendations within 15 days after being served with a copy of this report and
recommendation. A party may respond to another party's objections within 10 days after
being served with a copy thereof. Failure to file specific objections limits the scope of
review of proposed factual findings and recommendations.




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